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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                     )
                                              )
       v.                                     )              Crim. No. 09cr10315-NG
                                              )
MANUEL ALEJANDRO                              )
PANIAGUA-REYNOSO                              )
     Defendant.                               )
GERTNER, D.J.:

                    MEMORANDUM AND ORDER RE:
       DEFENDANT’S MOTION FOR REVOCATION OF DETENTION ORDER
                            August 17, 2010

       Defendant Manuel Alejandro Paniagua-Reynoso is charged with possession of, and

conspiracy to possess with intent to distribute, five kilograms or more of cocaine, in violation of

21 U.S.C. § § 846 and 841(a)(1). After two detention hearings, the Magistrate Judge ordered the

defendant detained on February 16, 2010. Reynoso moved to revoke the order of detention. For

the reasons set forth below, I find that no conditions would reasonably assure the defendant’s

appearance, and accordingly, his Motion to Revoke the Detention Order (document #61) is

DENIED.

I.     BACKGROUND

       The government alleges, based on a DEA investigation that included physical and video

surveillance and wiretaps, that Reynoso was involved in a large-scale cocaine trafficking

conspiracy. Allegedly, on one occasion, Reynoso’s co-defendants Juan Nova and Osiris Santana

discussed a large shipment of cocaine that Santana was to receive. Santana mentioned that he

was looking for a place to store the cocaine and that he would put his “guy Alejandro down there

with a gun” to protect it. When agents learned that the shipment of cocaine had been delivered,

they searched the location pursuant to a search warrant. Reynoso was there. He was arrested in
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the presence of 54 kilograms of cocaine. Based on this and other surveillance, the government

believes Reynoso is Alejandro, and that his full name is Manuel Alejandro Paniagua-Reynoso.

         In addition to the above evidence, investigators intercepted several calls between Santana

and “Alejandro” that showed Alejandro to be a relative and drug associate of Santana’s who had

recently come to the United States with a false visa Santana helped him to obtain. Agents also

intercepted a call in which Santana discussed sending Alejandro to pick up payment for drugs

from a customer.

II.      DISCUSSION

         A.      Detention Order

         I review the detention order de novo. United States v. Tortora, 922 F.2d 880, 884 n.4

(1st Cir. 1990). 18 U.S.C. § 3142(e) provides that if “no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of any other

person and the community,” the defendant shall be detained pending trial. The government

relies on the defendant's risk of flight as grounds for detention, so I will limit my review to this

basis.

         In determining whether any conditions of release will reasonably assure the defendant’s

appearance, the Court must consider the factors set out in 18 U.S.C. § 3142(g). These include

the circumstances of the offense charged, the weight of the evidence against the defendant, and

his “family ties, employment, financial resources, length of residence in the community, [and]

community ties.” 18 U.S.C. § 3142(g)(3)(A).

         Because the offenses charged carry a mandatory minimum of ten years, Reynoso faces a

rebuttable presumption in favor of his detention pursuant to 18 U.S.C. § 3142(e)(2). United


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States v. Samuels, 436 F. Supp. 2d 280, 282 (D. Mass. 2006). He then bears the burden of

producing some evidence that the presumption does not apply to him. United States v. Dillon,

938 F.2d 1412, 1416 (1st Cir. 1991). The statutory presumption, however, retains evidentiary

weight and must be considered with other relevant factors. See United States v. Palmer-

Contreras, 835 F.2d 15, 17 (1st Cir. 1987).

        Reynoso argues that the statutory presumption should not apply to him for several

reasons. He is young, 23, and has no criminal record. Reynoso argues that the drug conspiracy

investigation began before he came to the United States and that there is little evidence to

connect him with it. He also asserts that because he is safety valve eligible, his sentence, if

convicted, would likely be lower than the mandatory minimum ten years. Ultimately, these

factors do not offset the evidentiary weight of the statutory presumption at this stage in the

proceeding.

        While Reynoso argues that nothing connects him to the distribution of cocaine but his

presence at the apartment with the stash, as Judge Dein noted, it is extremely unlikely that he

would have been allowed near a shipment of a million dollars worth of cocaine if he were not

involved in the conspiracy. Further, Reynoso’s potential safety valve eligibility does not affect

the statutory presumption as an initial matter, although it should affect the overall evidentiary

balance. See United States v. Moss, 887 F.2d 333, 336 (1st Cir. 1989) (“[T]he presumption

regarding flight is triggered solely by the statutory penalty, irrespective of the actual or likely

sentence for a particular defendant . . . .”).

        Reynoso presents a serious flight risk as well as an ability to flee. He has few ties to the

community – familial, financial, or otherwise. Reynoso was born in the Dominican Republic,


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and his family is there. He has no work history or plans to work here. He entered the country

for the first time in September 2009, apparently illegally. ICE has no record of him as a legal

entry. In fact, the Government’s theory that he came to the United States in order to participate

in the drug trafficking conspiracy is entirely credible on this record. He obviously faces

deportation. He appears to have ready access to cash and false identification papers.

       Reynoso proposes release to a second cousin and her husband, together with electronic

monitoring, a $25,000 unsecured bond, and surrender of his passport. However, Reynoso does

not currently have a passport, and his cousin’s husband was convicted of a drug trafficking

offense. While, as Reynoso argues, the conviction may carry less weight because it from 1995,

there is no evidence his second cousin and her husband would exert any control over him. On

this record, these conditions of release are simply insufficient to assure his appearance.

III.   CONCLUSION

       In sum, the evidence suggests Reynoso was involved in a large cocaine trafficking

conspiracy and has easy access to both cash and false identification documents. In addition, he

has no ties to the community and appears to have entered the country illegally. Given this,

defendant’s proposed pre-trial release conditions are not sufficient to guarantee his appearance.

The government has demonstrated by a preponderance of the evidence that Reynoso presents a

serious risk of flight. Accordingly, his Motion to Revoke the Detention Order (document

#61) is DENIED.


SO ORDERED.

Date: August 17, 2010                                 BáB atÇvç ZxÜàÇxÜ
                                                      NANCY GERTNER, U.S.D.C.


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